     Case: 2:20-cv-04624-ALM-KAJ Doc #: 1 Filed: 09/03/20 Page: 1 of 7 PAGEID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

U.S. EQUAL EMPLOYMENT OPPORTUNITY                    )
COMMISSION,                                          )
                                                     )
        Plaintiff,                                   )       Case No.
                                                     )
v.                                                   )
                                                     )       JURY TRIAL REQUESTED
THE OHIO STATE UNIVERSITY,                           )
                                                     )
        Defendant.                                   )

                                          COMPLAINT

                                      Nature of the Action

        This is an action under the Age Discrimination in Employment Act of 1967 (“the

ADEA”), to correct unlawful employment practices on the basis of age and to provide

appropriate relief to Charging Party Alan Knox (“Knox”), who was adversely affected by such

practices. As alleged with greater particularity below, Knox was age 53 and had been employed

by Defendant The Ohio State University (“Defendant” or “OSU”) for twelve years when

Defendant terminated him and replaced him with a significantly younger, significantly less-

qualified employee, amidst a workplace culture infected with age bias. When Knox sought

reemployment by applying to numerous positions, Defendant consistently selected significantly

younger, significantly less-qualified individuals instead of Knox.

                                     Jurisdiction and Venue

        1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Section 7(b) of the ADEA,

29 U.S.C. § 626(b), which incorporates by reference Sections 16(c) and Section 17 of the Fair

Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 216(c) and 217.

                                                 1
   Case: 2:20-cv-04624-ALM-KAJ Doc #: 1 Filed: 09/03/20 Page: 2 of 7 PAGEID #: 2




       2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Southern District of Ohio. At all relevant

times, Defendant employed Knox in Columbus, Ohio.

                                             PARTIES

       3.      Plaintiff, the U.S. Equal Employment Opportunity Commission (“the

Commission”), is the agency of the United States charged with the administration, interpretation

and enforcement of the ADEA and is expressly authorized to bring this action by Section 7(b) of

the ADEA, 29 U.S.C. § 626(b), as amended by Section 2 of Reorganization Plan No. 1 of 1978,

92 Stat. 3781, and by Public Law 98-532 (1984), 98 Stat. 2705.

       4.      At all relevant times, Defendant has been a State, a political subdivision of a

State, or an agency or instrumentality of a State or a political subdivision of a State under Section

11(b) of the ADEA, 29 U.S.C. §§ 630(b).

                                         CONCILIATION

       5.      Prior to institution of this lawsuit, the Commission’s representatives attempted to

eliminate the unlawful employment practices alleged below and to effect voluntary compliance

with the ADEA through informal methods of conciliation, conference and persuasion within the

meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(b).

                                   STATEMENT OF CLAIMS

       6.      Since March 2018, Defendant OSU has engaged in unlawful employment

practices in violation of Section 4 of the ADEA, 29 U.S.C. § 623(a)(1), by discharging Knox and

failing to re-hire him because of his age.

       7.      In March 2018, as part of a reduction in force (“RIF”), Defendant terminated

Knox, then age 53, a Human Resources Generalist (“HR Generalist”) in OSU’s College of



                                                 2
  Case: 2:20-cv-04624-ALM-KAJ Doc #: 1 Filed: 09/03/20 Page: 3 of 7 PAGEID #: 3




Education and Human Ecology (“CEHE”). The RIF also eliminated the jobs of two additional

CEHE employees in their 60s. Upon information and belief, Knox and the two additional

employees in their 60s were the only employees terminated in the RIF.

       a.      At the time of his termination, Knox was the oldest HR Generalist of the five

within CEHE and the only CEHE HR Generalist included in the RIF.

       b.      At the time of Knox’s termination, Knox oversaw human resources functions for

three different centers within CEHE: the Center on Education and Training for Employment

(“CETE”), the Crane Center for Early Childhood Research (“CCEC”), and the Schoenbaum

Family Center (“SFC”).

        c.     Following Knox’s termination, OSU assigned Knox’s workload to two other

employees in CEHE. His duties relating to CCEC and SFC, comprising approximately half of

his portfolio, were assigned to Jennifer Lagnese (“Lagnese”), a 28-year-old Human Resources

Specialist, a position subordinate to the HR Generalist position held by Knox.

       d.      At the time of his termination, Knox had 20 years of human resources experience,

with 12 of those at OSU. Lagnese had less than five years of human resources experience total,

with just eight months at OSU.

       e.      Throughout his employment at OSU, Knox had consistently maintained

satisfactory or better performance evaluation scores at OSU. At the time of Knox’s termination,

Lagnese had not yet received a performance evaluation at OSU.

       f.      Concurrent with Knox’s termination, OSU increased Lagnese’s salary by $6,000.

       g.      Less than six months after terminating Knox, OSU promoted Lagnese to HR

Generalist, the position held by Knox, and increased her salary by $5,700, to $62,700, just

slightly less than Knox had been making with over a decade more experience with OSU.



                                                3
  Case: 2:20-cv-04624-ALM-KAJ Doc #: 1 Filed: 09/03/20 Page: 4 of 7 PAGEID #: 4




       h.     Knox’s termination occurred against a backdrop of age-based hostility toward

older employees in CEHE that was displayed or condoned by the same officials responsible for

Knox’s termination: CEHE Human Resources Director Brian Lenzo (“Lenzo”), who was Knox’s

first-line manager, Dean of CEHE Cheryl Achterberg (“Achterberg”), and CEHE Human

Resources Manager Jackie Chambers (“Chambers”).

              i.      Lenzo had made ageist comments to Knox and another older CEHE HR

       Generalist, Jodi Renshaw. Lenzo would call Knox the “old guy,” Renshaw the “old girl,”

       and Knox and Renshaw together the “old crew,” including in front of other employees at

       team meetings.

              ii.     Prior to Knox’s termination, Dean Achterberg and other members of

       CEHE management received written complaints from four CEHE employees in their 50s

       and 60s detailing age-based discrimination toward older CEHE employees. These

       employees complained, in part, that older employees in their department had been

       targeted for termination and demotion and replaced by younger, less qualified

       individuals.

              iii.    The four older CEHE employees also complained about ageist statements

       made by two different CEHE Executive Directors. One Executive Director had sent an e-

       mail, eventually forwarded to Dean Achterberg, describing his staff as an “extraordinarily

       change averse population of people almost all of whom are over 50, contemp[l]ating

       retirement (or not) and it’s like herding hippos.” The complainants and supporting

       witnesses stated that his successor made statements such as, “You don’t want to work

       with these old people, they are backward looking”; and also referred to older employees

       as “millstones around [his] neck,” “dead wood,” “change averse” and unable “to turn on a



                                               4
   Case: 2:20-cv-04624-ALM-KAJ Doc #: 1 Filed: 09/03/20 Page: 5 of 7 PAGEID #: 5




       computer” without technical support, and to two CEHE older employees as “just an old

       lady who can’t walk” and “the Grim Reaper.”

               iv.     In response to the four complaints, OSU issued a report in which it

       declined to take any corrective action. Soon thereafter, CEHE management, including

       Achterberg, Lenzo, and Chambers, eliminated the complainants’ full-time positions and

       those of other older, longstanding CEHE employees, reclassifying these positions as

       lower-paying nine-month contractual appointments, thereby forcing a number of older

       CEHE employees to resign. After taking these actions CEHE management then

       advertised full-time positions but did not fill them after older former employees applied.

       8.      Following his termination, Knox applied, and continues to apply, to several

human resources jobs at OSU, including within CEHE. He has been qualified for all such jobs

so far, and yet OSU hired significantly younger, significantly less-qualified applicants.

       a.      On or about March 30, 2018, Knox applied for Requisition #437066, a posted HR

Generalist position at OSU. OSU rejected Knox and instead hired a significantly less-qualified

individual, age 37.

       b.      On or about March 30, 2018, Knox applied for Requisition #445562, a posted HR

Generalist position at OSU. OSU rejected Knox and instead hired another significantly less-

qualified individual, age 37.

       c.      On or about December 4, 2018, Knox applied for Requisition #444541, a posted

HR Generalist position at OSU. OSU rejected Knox and instead hired another significantly less-

qualified individual, age 30.

       d.      In or about January 2019, Knox applied for Requisition #445794, a posted HR

Generalist position at OSU within CEHE, essentially his old position. OSU rejected Knox and,



                                                 5
   Case: 2:20-cv-04624-ALM-KAJ Doc #: 1 Filed: 09/03/20 Page: 6 of 7 PAGEID #: 6




upon information and belief, instead hired another significantly younger, significantly less-

qualified individual. At the time Knox applied for this position, CEHE Human Resources

Manager Jackie Chambers, who was involved in terminating Knox, had been promoted to HR

Director of CEHE and upon information and belief, was involved in the decision to reject Knox

as a CEHE HR Generalist.

       e.      Since his termination, Knox has applied for human resources jobs at OSU in

addition to those listed above for which he was qualified but not selected. OSU rejected Knox

and, upon information and belief, continued to hire younger, less-qualified individuals for these

positions.

       9.      The unlawful employment practices complained of in paragraphs 7 through 8

above were willful within the meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(b).

                                     PRAYER FOR RELIEF

Wherefore, the Commission respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining Defendant OSU, its officers, agents,

servants, employees, attorneys, and all persons in active concert or participation with it, from

engaging in any employment practice which discriminates on the basis of age.

       B.      Order Defendant OSU to institute and carry out policies, practices, and programs

which provide equal employment opportunities for individuals 40 years of age and older, and

which eradicate the effects of its past and present unlawful employment practices.

       C.      Grant a judgment requiring Defendant OSU to pay appropriate back wages,

including benefits, in an amount to be determined at trial, and an equal sum as liquidated

damages, to Knox for wages that are being unlawfully withheld as a result of the unlawful

employment practices complained of above.



                                                 6
   Case: 2:20-cv-04624-ALM-KAJ Doc #: 1 Filed: 09/03/20 Page: 7 of 7 PAGEID #: 7




        D.     Order Defendant OSU to make whole Knox, by providing the affirmative relief

necessary to eradicate the effects of its unlawful practices, including but not limited to

reinstatement of Knox, or in the alternative, front pay.

        E.     Grant such further relief as the Court deems necessary and proper in the public

interest.

        F.     Award the Commission its costs of this action.

                                     JURY TRIAL DEMAND

        The Commission requests a jury trial on all questions of fact raised by its complaint.


                                                      Respectfully submitted,

                                                      SHARON F. GUSTAFSON
                                                      General Counsel

                                                      GWENDOLYN YOUNG REAMS
                                                      Associate General Counsel

                                                      DEBRA M. LAWRENCE
                                                      Regional Attorney

                                                      /s/ Maria Luisa Morocco_______
                                                      MARIA LUISA MOROCCO
                                                      Supervisory Trial Attorney

                                                      /s/ John S. Brubaker___________
                                                      JOHN S. BRUBAKER
                                                      Trial Attorney
                                                      EQUAL EMPLOYMENT
                                                      OPPORTUNITY COMMISSION
                                                      Philadelphia District Office
                                                      801 Market Street, Suite 1000
                                                      Philadelphia, PA 19107-3127
                                                      Phone: (267) 589-9762
                                                      Fax: (215) 440-2848
                                                      john.brubaker@eeoc.gov
                                                      IL6314685
                                                      admitted via S.D. Ohio Civ. R. 83.3(c)(3)



                                                  7
